         Case 15-20377-JAD            Doc 29      Filed 10/20/15 Entered 10/20/15 09:05:01                 Desc
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                                        UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF PENNSYLVANIA


IN RE:

    RANDY J. GILLETTE, SR.                                         Case No.:15-20377 JAD

                 Debtor(s)

    Ronda J. Winnecour                                             Document No.:
               Movant
           vs.
    No Repondents.




                                       TRUSTEE'S FINAL REPORT AND ACCOUNT
Ronda J. Winnecour, Trustee for the above case, submits the following final report and account of the administration of the
estate pursuant to 11 USC 1302 (b) (1).

       1. The case was filed on 02/05/2015 and confirmed on 06/02/2015 . The case was subsequently
(B)DISMISSED AFTER CONFIRMATION FUNDS TO DEBTOR

         2. The Trustee made the following disbursements.

Total Receipts                                                                                                         550.00
Less Refunds to Debtor                                                                  0.00
TOTAL AMOUNT OF PLAN FUND                                                                                              550.00

Administrative Fees
   Filing Fee                                                                          0.00
   Notice Fee                                                                          0.00
   Attorney Fee                                                                      119.08
   Trustee Fee                                                                        19.80
   Court Ordered Automotive Insurance                                                  0.00
TOTAL ADMINISTRATIVE FEES                                                                                              138.88

Creditor Type Creditor Name                            Claim Amount            Prin Paid           Int Paid         Total Paid
Secured
    CREDIT ACCEPTANCE CORP*                                  8,139.00               0.00            143.53             143.53
         Acct: 0874
    MAHONING CONSUMER DISC/FINANCE                          14,441.49               0.00            267.59             267.59
         Acct: 6273
                                                                                                                       411.12

Priority
    KENNETH STEIDL ESQ                                           0.00               0.00               0.00              0.00
         Acct:
    RANDY J. GILLETTE, SR.                                       0.00               0.00               0.00              0.00
         Acct:
    STEIDL & STEINBERG                                       1,500.00             119.08               0.00              0.00
         Acct:
                                                     ***NONE***

Unsecured
   COLUMBIA GAS OF PA INC*                                   1,756.24               0.00               0.00              0.00
       Acct: XXXXXXXXXXXXXXXXXXX01-2
   PENNSYLVANIA-AMERICAN WTR CO*                               462.04               0.00               0.00              0.00
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15-20377 JAD                  TRUSTEE'S FINAL REPORT AND ACCOUNT                                                  Page 2 of 2
Creditor Type Creditor Name                Claim Amount     Prin Paid                               Int Paid       Total Paid
Unsecured
         Acct: 0293
    PENN POWER/FIRST ENERGY**                   2,306.21         0.00                                  0.00              0.00
         Acct: 8048
    PENNSYLVANIA-AMERICAN WTR CO*                 391.04         0.00                                  0.00              0.00
         Acct: 4730
    QUANTUM3 GROUP LLC AGNT - SADINO FUNDING LLC 77.89           0.00                                  0.00              0.00
         Acct: 5506
    ORION                                           0.00         0.00                                  0.00              0.00
         Acct:
                                         ***NONE***

TOTAL PAID TO CREDITORS                                                                                               411.12
  TOTAL CLAIMED
  PRIORITY                             0.00
  SECURED                         22,580.49
  UNSECURED                        4,993.42



            Wherefore the trustee requests a final decree be entered which discharges the trustee and her surety from any and
all liability on account of the above case, closes the estate, and grants such other relief as may be just and proper.


   Date: 10/19/2015                                                        /s/ Ronda J. Winnecour
                                                                           RONDA J WINNECOUR PA ID #30399
                                                                           CHAPTER 13 TRUSTEE WD PA
                                                                           600 GRANT STREET
                                                                           SUITE 3250 US STEEL TWR
                                                                           PITTSBURGH, PA 15219
                                                                           (412) 471-5566
                                                                           cmecf@chapter13trusteewdpa.com
